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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
       v.                                     :       Criminal No. 1:21-cr-00538-DLF
                                              :
JACOB TRAVIS CLARK,                           :
                                              :
                       Defendant.             :

              CONSENT MOTION TO CONTINUE SENTENCING HEARING

       Jacob Clark, with consent of the United States, moves this Court for a 60-day continuance

of the status conference currently scheduled for May 8, 2023.   In support of its motion, Mr. Clark

states the following facts.

       On January 30, 2023, Mr. Clark waived his right to a jury trial and agreed to a Statement

of the Offense in a stipulated bench trial.   Since then, Mr. Clark has been interviewed by U.S.

Probation for its Presentence Investigation Report.   The interview revealed previously unknown

childhood trauma and other information that would potentially affect the Court’s view of Mr.

Clark’s history and characteristics at sentencing.    Counsel is thus in the process of collecting

records that would be relevant to the Court’s consideration.

       The government consents to this Motion.

                                              Conclusion

       Mr. Clark thus respectfully requests that this Court grant the motion for a 60-day

continuance of the currently scheduled sentencing hearing to a date around the second week of

July 2023.
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                           Respectfully submitted,

                           A.J. KRAMER
                           FEDERAL PUBLIC DEFENDER

                           ____________/s/______________
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